JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

T. (a) PLAINTIFFS

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

MELANIE WHITLEY

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

Bexar

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DEFENDANTS

City of San Antonio; Misty Floyd, and San Antonio Police
Dent.

County of Residence of First Listed Defendant Bexar
(IN U.S. PLAINTIFF CASES ONLY)

 

 

 

 

 

 

 

 

 

 

  
 

 

  

 

 

 

   

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
Kelly Kelly
II. BASIS OF JURISDICTION (Place an “xX” in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
[]1 U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [x] 1 | 1 Incorporated or Principal Place C 4 | 4
of Business In This State
CL 2 U.S. Government | 4 Diversity Citizen of Another State O 2 O 2 Incorporated and Principal Place C 5 C] 5
Defendant (Indicate Citizenship of Parties in Item Il) of Business In Another State
Citizen or Subject of a | 3 C 3 Foreign Nation | 6 CC 6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT ( ae TORTS FORFEITURE/PENALTY ____ BANKRUPTCY OTHER STATUTES _
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane Cc 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | _]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability C 367 Health Care/ 400 State Reapportionment
| 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical TS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |__| 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability 368 Asbestos Personal 835 Patent - Abbreviated |__| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C 153 Recovery of Overpayment Liability PERSONAL PROPERTY Bi |__| 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal )_]720 Labor/Management _SOCIAL SECURITY __ Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury C 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securitics/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange

Medical Malpractice

| REAL PROPERTY| CIVIL RIGHTS. | PRISONER PETITIONS | _]790 Other Labor Litigation

Leave Act 864 SSID Title XVI

865 RSI (405(g))

890 Other Statutory Actions
891 Agricultural Acts

 

| _|210 Land Condemnation
[_] 220 Foreclosure

245 Tort Product Liability

230 Rent Lease & Ejectment
240 Torts to Land

x | 440 Other Civil Rights Habeas Corpus:

| _|791 Employee Retirement 893 Environmental Matters

 

 

 

 

[| 290 All Other Real Property

448 Education

 

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

441 Voting LE 463 Alien Detainee Income Security Act wi LL TAX ah 895 Freedom of Information

442 Employment 510 Motions to Vacate 870 Taxes (U.S, Plaintiff Act

443 Housing/ Sentence or Defendant) 896 Arbitration
Accommodations — [_] 530 General [_] 871 IRS—Third Party 899 Administrative Procedure

445 Amer. w/Disabilities -[-_] 535 Death Penalty [IMMIGRATION | 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision

446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes

 

 

V. ORIGIN (Place an “X” in One Box Only)
1 Original 2 Removed from
Proceeding State Court

VI. CAUSE OF ACTION

 

VII. REQUESTED IN

Oo 3. Remanded from
Appellate Court

4 Reinstated or 5 Transferred from
O O Another District

Reopened
(specify)

DEMAND $

6 Multidistrict
Litigation -
Transfer

oO 8 Multidistrict
Litigation -
Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
42 U.S.C. Sec. 1983

Brief description of cause:
excessive force by police

(.] CHECK IF THIS IS A CLASS ACTION

CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Elyes [JNo

VIII. RELATED CASKE(S)
(See instructions):

IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF A OR Y CORD
42/16/2020 Lb oy
FOR OFFICE USE ONLY v © U

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 5:20-cv-01429-XR Document 1-1 Filed 12/15/20 Page 2 of 4
JS 44 Reverse (Rev. 10/20)

Case 5:20-cv-01429-XR Document 1-1 Filed 12/15/20 Page 3 of 4
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L.(a)

(b)

(c)

Il.

Til.

IV.

VI.

VI.

VIII.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an '"X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box | or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or

multidistrict litigation transfers. , ; ; , ;
Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.

Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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